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                               COURTROOM MINUTE SHEET
                               SENTENCING PROCEEDINGS

Date 01/05/2016                        Case No. 4:15CR00049 CDP-6
UNITED STATES OF AMERICA vs. Jasminka Ramic
Judge Honorable Catherine D. Perry                Court Reporter G. Madden
Deputy Clerk C. Long                               Interpreter Belma Salecevic
Assistant United States Attorney(s) Howard Marcus, Matthew Drake, Mara Kohn, Joshua Champaign
Attorney(s) for Defendant J. Christian Goeke
Probation Officer T. Sullivan

✔ Defendant/Parties present for imposition of sentence.
__
✔ No objections to presentence report filed by either party.
__
__ Objections to presentence report filed by __ Defendant __ USA
__ Objections to presentence report heard and __ Granted/sustained __ Denied           as follows:



✔ Presentence Report adopted/accepted by Court as findings of fact and filed under seal.
__
__ Government’s Motion is __ granted __ denied

__ Letters received regarding defendant reviewed by the Court.
__ Letters to be made part of the record and filed Under Seal.
✔ Sentence imposed (see judgment)
__
____________________________________________________________________________
____________________________________________________________________________
____________________________________________________________________________
__ The Court makes the following recommendations to the Bureau of Prisons:



✔ Ordered that Count(s) one and three of original indictment are dismissed on motion of AUSA
__
✔ Defendant remanded to custody of the USMS
__
__ Defendant granted a voluntary surrender to the institution/USMS for incarceration as:
__ Notified by USMS.      __ Surrender date ordered:
__ Defendant is released on Probation/Supervised Release pending processing by USMS.
__ Witness testimony (see witness list) __ Exhibits returned to/retained by counsel (see exhibit list)
✔ Certificate of Compliance with Local Rule 12.07(A) provided to defendant’s attorney
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Proceedings commenced 2:00 p.m.                Concluded 2:30 p.m.
